Case 1:20-cv-04116-DG-CLP Document 120 Filed 02/12/24 Page 1 of 2 PageID #: 2674




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------X
 DORINA SOKOLOVSKY,

                                   Plaintiff,
                                                                            SCHEDULING ORDER
                       -against-
                                                                             20 CV 4116 (DG) (CLP)
 OORAH, INC., et al.,

                                    Defendants.
 ----------------------------------------------------------X
 POLLAK, United States Magistrate Judge:

          The Court has reviewed the parties’ joint letter motion regarding the discovery schedule.

 (ECF Nos. 118). The parties’ request for an extension of time to complete paper fact discovery

 is DENIED, as the parties have not shown good cause for such an extension. As previously

 ordered, defendants shall have until February 28, 2024, to review plaintiff’s production, meet

 and confer with plaintiff regarding any issues, and file letter motions as necessary. Plaintiff must

 likewise file any letter motions concerning paper discovery (i.e., discovery of documents and

 ESI) by February 28, 2024.

          With respect to all other discovery deadlines, the Court concludes that a small extension

 is appropriate to permit the parties to complete fact depositions, but that the requested 60-day

 extension is far too long. It is therefore ORDERED that schedule will be as follows:

                   •   Date to complete paper discovery: February 28, 2024. 1

                   •   Date to complete all fact depositions: April 22, 2024.

                   •   Date to move for leave to amend pleadings: April 22, 2024.

                   •   Date of plaintiff’s expert reports: May 13, 2024.



          1
           With the exception of any subsequent productions that may be required as a result of letter motions filed
 by the deadline noted above.

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Case 1:20-cv-04116-DG-CLP Document 120 Filed 02/12/24 Page 2 of 2 PageID #: 2675




                •   Date of defendants’ expert reports: June 3, 2024.

                •   Date to complete expert discovery: July 1, 2024.

                •   Date to file contemplated dispositive motions: July 22, 2024.

 No further extensions shall be granted.

        SO ORDERED.

 Dated: Brooklyn, New York
        February 12, 2024

                                                 Cheryl L. Pollak
                                                 United States Magistrate Judge
                                                 Eastern District of New York




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